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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


RODNEY LAIL, et al.,                )
                                    )
                  Plaintiffs,       )
                                    )
      v.                            )               Case No. 1:10-cv-00210 (PLF)
                                    )
UNITED STATES, et al.,              )
                                    )
                  Defendants.       )
___________________________________ )


                          NOTICE OF ENTRY OF APPEARANCE

               Pursuant to LCvR 83.6, please take notice of the entry of the appearance of the

undersigned as counsel of record for defendants Unihealth Post-Acute Care – Columbia and

Brenda Hughes.1

                                                    Respectfully submitted,

                                                    AEGIS LAW GROUP LLP


Dated: July 21, 2010                        By:     /s/ Oliver Garcia
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                                                    Attorneys for Unihealth Post-Acute Care
                                                    Columbia and Brenda Hughes




1
    The address of both defendants is 2451 Forest Drive, Columbia, South Carolina 29204.
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                                  CERTIFICATE OF SERVICE

                I hereby certify that on the 21st day of July, 2010, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

                              Monte Fried, Esq.
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                              100 North Charles Street
                              Suite 1600
                              Baltimore, MD 21202-3805
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and that I have caused a copy to be deposited in the United States Mail, first-class postage
prepaid, addressed to:

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                                                        /s/ Oliver Garcia




                                                   2
